Case 1:19-md-02875-RMB-SAK   Document 296-12   Filed 11/18/19   Page 1 of 3 PageID:
                                    3867




                             Exhibit 12
     Case 1:19-md-02875-RMB-SAK                 Document 296-12            Filed 11/18/19   Page 2 of 3 PageID:
                                                       3868



From:                        David Bonilla
Sent:                        Monday, November 19, 2018 1:00 PM
To:                          ORA PHARM1 RECALLS
Cc:                          Constance Truemper; Christopher Unger
Subject:                     Re: Request for Conference Call to discuss NDEA



LCDR    Dellarese Herbert,

Thanks   for the communication. As indicated on our call last week Teva is prepared to Recall the product and we are
finalizing the details to do so. As indicated we where preparing to send an updated Field Alert Report today.


Sincerely,
David



 David Bonilla
 Assoc Director         Commercial Quality &
 Compliance
 Tel: +1-215-293-7231
 Cell: +1-215-601-9647



 Sent from my IPhone




On Nov 19,    2018, at 7:48 AM, ORA   PHARM   RECALLS   <orapharm1recalls@fda.hhs.gov> wrote:

Good     Morning   Connie,




Based on the agency’s testing of Teva’s valsartan finished drug products   to-date, we recommend Teva conduct a
voluntary recall of the valsartan products containing NDEA listed below:


Product  Description   NDC   LotNumber           NDEA

Amlodipine and Valsartan 320mg/10mg           0093-7693-56 26X053 0.085 ppm
Amlodipine, Valsartan and Hydrochlorothiazide 10mg/320mg/25mg     0093-7809-56                  22X045 0.094   ppm


As discussed during the meeting, this requires press and CDER would like an opportunity to review your public
 notification prior to its issuance on Monday, November 19,2018. Please send me the draft copies of the Press Release
and Customer Notification Letter and Stock Response Form.


Thanks!


LCDR    Dellarese Herbert, Recall Coordinator Pharma Division   |   & IV
 215-717-3747




                                                                                                    TEVA-MDL2875-00004075
           Case 1:19-md-02875-RMB-SAK                    Document 296-12            Filed 11/18/19         Page 3 of 3 PageID:
                                                                3869
From: Constance Truemper [mailto:Constance.                 Truemper@actavis.com]
Sent: Thursday, November            15,
                            2018 10:28 AM
To:     Herbert, Dellarese L <Dellarese.Herbert@fda.hhs.gov>; Christopher Unger    <Christopher.Unger@tevapharm.com>;
    David Bonilla <David.Bonilla@tevapharm.com>; ORA PHARM1 RECALLS         <orapharm1recalls@fda.hhs.gov>
    Subject: RE: Request for Conference Call to discuss NDEA


    Hello      Della
|    am on a conference call with the team and we will respond soon.



                         Connie T Truemper
                         Mgr Quality Professional
     <image003.png>
                         Tel: 1-973-658-1839   Cell: 1-908-303-4319
                         Constance. Truemper@actavis.com      www.tevapharm.com
     <image005.jpg>


    From: Herbert, Dellarese L [mailto:Dellarese. Herbert@fda.hhs.gov]
    Sent: Thursday, November 15, 2018 10:10 AM
To: Constance Truemper; Christopher Unger; David Bonilla; ORA PHARM1                      RECALLS
Subject: Request for Conference Call to discuss NDEA

    Good     Morning     Connie,


    CDER   is requesting a conference call (after 1:00 pm today) to discuss positive findings of NDEA in Mylan Valsartan
API.        Can you please respond and let me know Teva’s availability for today?


    Thanks!




    Dellarese Herbert, R.N., B.S.N.
    Lieutenant Commander, U.S. Public Health Service
    U.S. Food & Drug        Administration
    Division    Recall Coordinator/Compliance Officer
    Division    of Pharmaceutical Quality Operations         IV
    (CT, DC, DE, MA, MD, ME, NH, NJ, NY, PA, RI, VA, VT, WV, AK, AZ, CA, CO, HI, ID, MT, NM, NV, OR, UT, WA, WY)
    900 U.S. Custom House, suite 904
    200 Chestnut Street
    Philadelphia,      PA 19106


    Phone:      215-717-3747
    Blackberry 215-906-5589
    Fax:  215-517-6649
    email:       dellarese.herbert@fda.hhs.gov


      Orapharm1recalls@fda.hhs.gov,          Serving CT, DC, DE, MA, MD, ME, NH, NJ, NY, PA, RI, VA, VT, WV
      Orapharm4recalls@fda.hhs.gov,          Serving AK, AR, AZ, CA, CO, HI, ID, MT, NM, NV, OR, UT, WA, WY



    “It takes many good deeds      to build a good reputation, and only one bad to  one       Iose   it”




                                                                                                                TEVA-MDL2875-00004076
